                          3:22-mj-03107-KLM # 5            Page 1 of 13
                                                                                                 E-FILED
                                                                    Thursday, 30 June, 2022 04:01:46 PM
                                                                           Clerk, U.S. District Court, ILCD
                                                                                              CLOSED
                             U.S. District Court
                    Northern District of Georgia (Atlanta)
            CRIMINAL DOCKET FOR CASE #: 1:22−mj−00571−JEM−1

Case title: USA v. Oluwatayo                                    Date Filed: 06/28/2022

Other court case number: 22−mj−3107 USDC for the Central        Date Terminated: 06/28/2022
                         District of Illinois

Assigned to: Magistrate Judge J. Elizabeth
McBath

Defendant (1)
Olushola Oluwatayo
TERMINATED: 06/28/2022

Pending Counts                               Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                            Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                   Disposition
18:1349 and 18:1343



Plaintiff
USA                                              represented by Sarah Klapman
                                                                DOJ−USAO
                                                                75 Ted Turner Drive SW
                                                                Atlanta, GA 30082
                                                                404−581−4649
                                                                Email: sarah.klapman@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

                                                                                                        1
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Date Filed   # Page Docket Text
06/28/2022           Arrest (Rule 40) of Olushola Oluwatayo (jra) (Entered: 06/30/2022)
06/28/2022   1       Minute Entry for proceedings held before Magistrate Judge J. Elizabeth McBath:
                     Initial Appearance in Rule 5(c)(3) Proceedings held as to Olushola Oluwatayo on
                     6/28/2022. Defendant waives Identity Hearing. Waiver filed. Bond set as to
                     Olushola Oluwatayo (1) 10,000. Defendant Released. (Attachments: # 1 Charging
                     Document) (Tape #FTR) (jra) (Entered: 06/30/2022)
06/28/2022   2       CJA 23 Financial Affidavit by Olushola Oluwatayo. (jra) (Entered: 06/30/2022)
06/28/2022   3       ORDER Setting Conditions of Release as to Olushola Oluwatayo. Signed by
                     Magistrate Judge J. Elizabeth McBath on 6/28/2022. (jra) (Entered: 06/30/2022)
06/28/2022   4       ORDER APPOINTING FEDERAL PUBLIC DEFENDER Melissa McGrane
                     (Initial Appearance Only) as to Olushola Oluwatayo. Signed by Magistrate Judge
                     J. Elizabeth McBath on 6/28/2022. (jra) (Entered: 06/30/2022)
06/28/2022   5       WAIVER of Rule 5 & 5.1 Hearings by Olushola Oluwatayo (jra) (Entered:
                     06/30/2022)
06/28/2022   6       Appearance Bond on Rule 5(c)(3) Entered as to Olushola Oluwatayo in amount
                     of $ 10,000. (jra) (Entered: 06/30/2022)
06/28/2022           Magistrate Case Closed. Defendant Olushola Oluwatayo terminated. (jra)
                     (Entered: 06/30/2022)




                                                                                                       2
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MIME−Version:1.0
From:ganddb_efile_notice@gand.uscourts.gov
To:CourtMail@localhost.localdomain
Bcc:
−−Case Participants: Sarah Klapman (caseview.ecf@usdoj.gov, mirtha.ponce@usdoj.gov,
sarah.klapman@usdoj.gov, usagan.criminaldocketing−courtnotices@usdoj.gov), Magistrate
Judge J. Elizabeth McBath (claire_fyvolent@gand.uscourts.gov,
ganddb_efile_jem@gand.uscourts.gov, theresa_bass@gand.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:12634369@gand.uscourts.gov
Subject:Activity in Case 1:22−mj−00571−JEM USA v. Oluwatayo Arrest − Rule 40
Content−Type: text/html

                                          U.S. District Court

                                     Northern District of Georgia

Notice of Electronic Filing


The following transaction was entered on 6/30/2022 at 10:03 AM EDT and filed on 6/28/2022

Case Name:       USA v. Oluwatayo
Case Number:     1:22−mj−00571−JEM
Filer:
Document Number: No document attached
Docket Text:
Arrest (Rule 40) of Olushola Oluwatayo (jra)


1:22−mj−00571−JEM−1 Notice has been electronically mailed to:

Sarah Klapman &nbsp &nbsp sarah.klapman@usdoj.gov, CaseView.ECF@usdoj.gov,
mirtha.ponce@usdoj.gov, USAGAN.CriminalDocketing−CourtNotices@usdoj.gov

1:22−mj−00571−JEM−1 Notice has been delivered by other means to:




                                                                                            3
               Case 1:22-mj-00571-JEM
                            3:22-mj-03107-KLM
                                        Document
                                              # 51 Filed
                                                   Page06/28/22
                                                         4 of 13 Page 1 of 1
MAGISTRATE'S CRIMINAL MINUTES - REMOVALS (Rule 5& 5.1) FILED IN OPEN COURT
                                                                        DATE: 6/28/2022 @ U-.3^|7|^
                                                                        TAPE: FTR

                                                                     TIME IN COURT: 72, ^y^

 MAGISTRATE JUDGE J. ELIZABETH McBATH COURTROOM DEPUTY CLERK: Neethu Varghese
CASE NUMBER: 1:22-MJ-0571 DEFENDANT'S NAME: Olushola Oluwatayo

AUSA: SaraV^, l<AanW\Qn DEFENDANT'S ATTY: Melissa McGrane C'SIA. OnVsf)

 USPO/PTR: () Retained ( ) CJA (X)FDP () Waived
EXHIBITS | | Yes | | No
           Yes

     ARREST DATE
     Initial appearance hearing held. v^* Defendant informed of rights.

     Interpreter sworn:
                                               COUNSEL

     ORDER appointing Federal Defender as counsel for defendant.

     ORDER appointing as counsel for defendant.

     ORDER: defendant to pay attorney's fees as follows:

                                      IDENTHT/ PRELIMINARY HEARING

^ Defendant ORALLY WAIVES identity hearing. ^ WAIVER FILED
     Identity hearing HELD. Def is named def. in indictment/complaint; held for removal to otherdistrict.

 ^ Defendant ORALLY WAIVES preliminary hearing in this district only. -^ WAIVER FILED

     Preliminary hearing HELD. Probable cause found; def. held to District Court for removal to other district

     Commitment issued. Detention hearing to be held in charging district

                                    BOND/PRETRIAL DETENTION HEARING

     Government motion for detention filed .

     Pretrial hearing set for @ () In charging district.)

     Bond/Pretrial detention hearing held.

     Government motion for detention ( ) GRANTED () DENIED

     Pretrial detention ordered. Written order to follow.

 ^ BOND set at ^0,000 ^ NON-SURETi' SURETY
                      cash property corporate surety ONLY

^- SPECIAL CONDITIONS: C^C V^bnd ^^^^OT^


      Defendant released.

     Bond not executed. Defendant to remain in Marshal's custody.

     Motion ( verbal) to reduce/revoke bond filed.

     Motion to reduce/revoke bond GRANTED DENIED

     See page 2
                                                                                                                 4
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                                                                                                             HLED IN OPEN COURT
IN THE UNITED STATES D DISTRICT COURT D COURT OF APPEALS                           D OTHER (Specify Below^c ~^^
                                                                                   FOR                                                  LOCATIO:
IN THE CASE OF                                                                                                                           NUMBEF
                                                                                   IAT                          JUN 2 § 20:
         u-s                          V.      01 UL
   PERSON REPRESENTED (Show your full name)
                                                                                   Lfeh5efendant - Adult               'D                      ;ER
                                                                                   2 U Defendant - Juvenile           |Magistrate Judge
    0[^iS^^\^ Olu-iAj^C-^tL^O
                                                                                   3 D Appellant                       r-IZ-HT-OSl-l
                                                                                                                      IDistrict Court
                                                                                   4 [] Probation Violator
                                                                                   5 D Supervised Release Violator
   CHARGE/OFFENSE (Describe if applicable & check box-*} s-0-Eelony                                                   |Court of Appeals
                                                                                   6 D Habeas Petitioner

                                                         D Misdemeanor             7 D 2255 Petitioner

     Wire— T^o^                                                                    8 D! Material Witness
                                                                                   9 D Other (Specify)




                                       Do you have a job? DYes -i3No [fea^s -i-softs' askj^.
              EMPLOYMENT               IF YES, how much do you earn per month? ^-s>\/^l n^yp-y-xn-i- - "in<^yy^_

                                       Will you still have a job after this arrest? D Yes QNo QUnknown

                                       Do you own any of the following, and if so, what is it worth? 2? ^5, ouo/ms
                                                         APPROXIMATE VALUE DESCRIPTION &AMOUNT OWED
 INCOME                                Home $
    &            PROPERTY              CacTmcWehideS
 ASSETS
                                       Boat $
                                       Stocks/bonds $
                                       Other property $
                     CASH
                                       Do you have any cash, or money in savings or checking accounts?                       res QNo
                        &
                     BANK              IF YES, give the total approximate amount after monthly expenses                 $ ^ SOD
                 ACCOUNTS
                                                                                                                     -^ i^/t?--^
                     How many people do you financially support?
                                                                                                                              ^-i,5^
                                       BILLS & DEBTS                  MONTHLY EXPENSE              TOTAL DEBT
                                       Housing                        $ {, 2.^                     $-
                                       Groceries                      $ 1^>                        $_
                                       Medical expenses               $_                           $_

OBLIGATIONS,                           Utilities                      $_                           $_
                                       Credit cards                   $ c-7.0. ^
EXPENSES, &                                                                                        $_

    DEBTS                              Car/TrucWehicle                $_                           $_
                                       Childcare                      $_                           $
                                       CMld support                   $_
                                       Insurance                      $_                           $,
                                       Loans                          $_                           $_
                                       Fines                          $                            $
                                       Other                          $ ;5 ^ .+ ^ -'- \'bo $-

        I certify under penalty of perjury that the foregoing is true and correct.



                                                                                                G/W?^
                         SIGNATURE OF DEFENDANT                                                          Date
                (OR PERSON SEEKING REPRESENTATION)                                                                                        30
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                                                                     FILED IN OPEN COURT
                                                                                                U.S.D.C.. Atlanta
AO 199A (Rev. 12/11) Order Setting Conditions of Release Page 1 of 3 pages


                                                                                                 JUN 2 8 2022
                               UNITED STATES DISTRICT COURT                                 KEVIN. P.,WEIMER, Clerk
                                                          forthe By-.l^^cierk
                                              Northern District of Georgia



                United States of America

                                                                )
                                                                ) Case No. 1:22-MJ-0571
                  Olushola Oluwatayo

                        Defendant                               )
                                ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.


(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.


(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
     any change of residence or telephone number.


(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
     the court may impose.


     The defendant must appear at:
                                                                               Place




     on
                                                            Date and Time


     If blank, defendant will be notified of next appearance.


(5) The defendant must sign an Appearance Bond, if ordered.




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A0199B (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages

                                                  ADDITIONAL CONDITIONS OF RELEASE
      IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:


( ) (6) The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an
              organization)
              City and state Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.


                                                                         Signed:
                                                                                                     Custodian Date
( x) (7) The defendant must:
                submit to supervision by and report for supervision
      ( x ) (a) to the ( x) U.S. Pretrial Services () U.S. Probation Office
                   telephone number 404-215-1950 , () No later than _ () Before leaving courthouse, or
      ( x ) (b) maintain or actively seek lawful and verifiable employment.
      ( ) (c) continue or start an education program.
      ( x ) (d) surrender any passport to your supervising officer by : _, and do not obtain nor possess a passport or other international
                    travel document, not obtain or possess a passport or other international travel document in your name, another name or on behalf of a
      third party, including minor children.
      ( ) (e) abide by the following restrictions on personal association, residence, or travel:


      ( ) (f) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including:

      ( ) (g) get medical or psychiatric treatment: () as directed by your supervising ofScers ()


      ( ) (h) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
      ( x ) (i) not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or place of employment, or upon your
                   person.
      ( x ) (j) not use alcohol ( ) at all ( x ) excessively.
      ( x ) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless lawfully prescribed by a
                    licensed medical practitioner.
      ( ) (1) submit to testing for a prohibited substance if required by the preto^al services office or supervising officer. Testing may be used with random
                    frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                    substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                   substance screening or testing.
      ( ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
      (\^) (n) participate m one of the following location restriction programs and comply with its requirements as directed.
                   (y\) (i) Curfew. You are restricted to your residence every day ( ) from _to_, or (
                               directed by the pretrial services office or supervising officer; or
                   ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                               substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                approved in advance by the pretrial services office or supervising officer; or
                   ( ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court.
      ( ^^ (o) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                    ( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services ofEce or
                          supervising officer.

      ( x ) (p) report within 72 hours to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                   arrests, questioning, or traffic stops.
      ( x ) (p) restrict travel to the Northern District of Georgia unless the supervising^o^tcer has approved travel in advance.
      ( ") (r) ~"^^mi{ ^ 'Loc^ ^/i ifvi^i^n^^^?^
      ( ) (s)
      ( ) (t)



                                                                                                                                                                  32
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AO 199C (Rev. 09/08) Advice of Penalties Page d _of 0 Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result m
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or mformant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more —you will be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fmed not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                                 Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant's Signature


                                                                             -M-i^+«/ c^A-
                                                                                              City and State




                                               Directions to the United States Marshal

( v^) The defendant is ORDERED released after processing.
       The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
       the appropriate judge at the time and place specified.


Date: 6/28/2022                                                              '. (\o.\j^J^^€>^1^
                                                                                       Judicial Officer's
                                                                                                  Jicer'sSil
                                                                                                          Signature


                                                                   J. ELIZABETH MCBATH, U.S. MAGISTRATE JUDGE
                                                                                         Printed name and title




                    DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL




                                                                                                                                                  33
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                                                                  FILED IN OPEN COURT
                                                                    U.S.D.C--Atlanta


                                                                    JUN 2 8 2022
                                                                          EIMER, Clerk
                  IN THE UNITED STATES DISTRICT COl                           Deputy Clerk
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA

          Plaintiff,
                                               CRIMINAL ACTION FILE NO.
 V.

                                               1:22-MJ-0571-JEM
 OLUSHOLA OLUWATAYO

          Defendant




                         ORDER APPOINTING COUNSEL
                                MELISSA McGRANE f-SA On\^

         The above-named defendant has testified under oath or has filed with the

Court an affidavit of financial status and hereby satisfied this Court that he or

she is financially unable to employ counsel.

         Accordingly, the FEDERAL DEFENDER PROGRAM, INC./ is hereby

appointed to represent this defendant in the above-captioned case unless

relieved by an Order of this Court or by Order of the Court of Appeals.

         Dated at Atlanta, Georgia this 28th day of June, 2022.




                                      ^.^d^MW^
                                     J. AZ^ETH MCBATH
                                      United States Magistrate Judge




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                                                                                                       FILED IN OPEN COURT
AO 466A (Rev. 07/16) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment) U.S.D.C. - Atlanta



                               UNITED STATES DISTRICT COURT JUN 2 8 2022
                                                          forthe KEVII^i P^WEIMER, Clerk
                                                Northern District of Georgia By -|[^j^|^ Deputy clerk

             United States of America )
                         v. ) Case No. 1:22-MJ-0568-JEM
                                                              )
                Olushola Oluwatayo _ ) Charging District's Case No. 1:20-CR-029
                      Defendant                         ~)


                                        WAWER OF RULE 5 & 5.1 HEARINGS
                                                 (Complaint or Indictment)

       I understand that I have been charged in another district, the (name of other court) _Central District

                                                         Illinois

       I have been informed of the charges and of my rights to:

       (1) retain counsel or request the assignment of counsel if I am unable to retain counsel;

       (2) an identity hearing to determine whether I am the person named in the charges;

       (3) production of the warrant, a certified copy offhe warrant, or a reliable electronic copy of either;

       (4) a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                unless I have been indicted beforehand.

       (5) a hearing on any motion by the government for detention;

       (6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

       I agree to waive my right(s) to:

               an identity hearing and production of the warrant.

               a preluninary hearing.

       a a detention hearing. (^ ^^ V^v<. cl^k^-K^ ^r^ ~~^£3^.£^<^^^
       [-1 an identity hearing, production of the warrant, and any preliminary or detention hearing to whiclfl may
               be entitled in this district. I request that any preliminary or detention hearing be held in the prosecuting
               district, at a time set by that court.


       I consent to the issuance of an order requmng my appearance in the prosecuting district where the charges are
pending against me.



Date: 06/28/2022
                                                                              Defendant's signature



                                                        ^ry\j^^^ -Y\n^M-t
                                                                        Signature of defendant's attorney




                                                                       Printed name of defendant's attorney



                                                                                                                              35
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                                                                                                                      U.S.D.C.. Atlanta

AO 98 (Rev. 12/11) Appearance Bond ^S^°
      Kev'12m)APP~eBond ^ JUN 2 8 2022


                                    UNITED STATES DISTRICT COURT KEVIN^ P. j^pVIER, Clerk
                                                                    for the By:iWjftNDeP"tyC<«rl<
                                                     Northern District of Georgia

                 United States of America )
                               V.                               )
                                                                        ) Case No. 1:22-MJ-0571
                      Olushola Oluwatayo )
                            Defendant )


                                                         APPEARANCE BOND

                                                         Defendant's Agreement

I, _Olushola Oluwatayo _ _ (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X ) to appear for court proceedings;
             ( X ) if convicted, to surrender to serve a sentence that the court may impose; or
             ( X ) tocomply with all conditions set forth in the Order Setting Conditions of Release.


                                                               Type of Bond

( ) (1) This is a personal recognizance bond.


( t^r^) Thisisanunsecuredbondof$ 10 . OK> _.

( ) (3) This is a secured bond of $ , secured by:

       ( ) (a) $ _ _ _, in cash deposited with the court.


       ( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property. including claims on it — such as a lien, mortgage, or loan — and attach proof of

               ownership and value):




               If this bond is secured by real property, documents to protect the secured interest may be filed of record.


       ( ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                  Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.




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AO 98 (Rev. 12/11) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.


                                                          Declarations


Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

          (1) all owners of the property securing this appearance bond are included on the bond;
          (2) the property is not subject to claims, except as described above; and
          (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant - and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)



Date: Cf(^-i\/Li-
                                                                                         Defendant's signature




                Surety/property owner —printed name Surety/property owner — signature and date




                Surety/property owner —printed name Surety/property owner — signature and date




                Surety/property owner —printed name Swety/property owner — signature and date




                                                                  CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk


Approved.

Date: 06/28/2022 Q^. C^UK^VI%(X^-^_
                                                                             / ) Judge's signature




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MIME−Version:1.0
From:ganddb_efile_notice@gand.uscourts.gov
To:CourtMail@localhost.localdomain
Bcc:
−−Case Participants: Sarah Klapman (caseview.ecf@usdoj.gov, mirtha.ponce@usdoj.gov,
sarah.klapman@usdoj.gov, usagan.criminaldocketing−courtnotices@usdoj.gov), Magistrate
Judge J. Elizabeth McBath (claire_fyvolent@gand.uscourts.gov,
ganddb_efile_jem@gand.uscourts.gov, theresa_bass@gand.uscourts.gov)
−−Non Case Participants: File Clerks (ganddb_file_clerks@gand.uscourts.gov)
−−No Notice Sent:

Message−Id:12634485@gand.uscourts.gov
Subject:Activity in Case 1:22−mj−00571−JEM USA v. Oluwatayo Termination of Magistrate Case
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                                          U.S. District Court

                                     Northern District of Georgia

Notice of Electronic Filing


The following transaction was entered on 6/30/2022 at 10:30 AM EDT and filed on 6/28/2022

Case Name:       USA v. Oluwatayo
Case Number:     1:22−mj−00571−JEM
Filer:
Document Number: No document attached
Docket Text:
Magistrate Case Closed. Defendant Olushola Oluwatayo terminated. (jra)


1:22−mj−00571−JEM−1 Notice has been electronically mailed to:

Sarah Klapman &nbsp &nbsp sarah.klapman@usdoj.gov, CaseView.ECF@usdoj.gov,
mirtha.ponce@usdoj.gov, USAGAN.CriminalDocketing−CourtNotices@usdoj.gov

1:22−mj−00571−JEM−1 Notice has been delivered by other means to:




                                                                                            38
